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IN THE UNITED STA E_S DISTRICT cong-1-
FOR THE wEsTERN DIST§TCT oF TENNESSEE ma §Wg!g ph 5:36

wEsTERN DIVISION

    

 

UNITED STATES OF AMERICA,
Plaintiff,

/

VS. CR. NO. OB~ZOlQB-Ma
ANTIONETTE GRANATA,

Defendant.

~_/`_,~__,¢~_d-_,-._,-._/~_¢~__,

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period fron1 May Bl, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § BlGl(h)(B){B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day Of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

